Case 8:23-cv-00687-KKM-CPT Document 79                  Filed 01/16/25 Page 1 of 2 PageID 2123
    USCA11 Case: 24-14020 Document: 12                  Date Filed: 01/16/2025 Page: 1 of 2


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                          January 16, 2025

  Clerk - Middle District of Florida
  U.S. District Court
  801 N FLORIDA AVE
  TAMPA, FL 33602-3849

  Appeal Number: 24-14020-H
  Case Style: Deborah Grey v. Vengroff Williams, Inc., et al
  District Court Docket No: 8:23-cv-00687-KKM-CPT

  The enclosed copy of the Clerk's Order of Dismissal for failure to prosecute in the above
  referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4.

  Any pending motions are now rendered moot in light of the attached order.

  Clerk's Office Phone Numbers
  General Information: 404-335-6100          Attorney Admissions:         404-335-6122
  Case Administration: 404-335-6135          Capital Cases:               404-335-6200
  CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




  Enclosure(s)




                                                                 DIS-2 Letter and Entry of Dismissal
Case 8:23-cv-00687-KKM-CPT Document 79                   Filed 01/16/25 Page 2 of 2 PageID 2124
    USCA11 Case: 24-14020 Document: 12                   Date Filed: 01/16/2025 Page: 2 of 2




                         IN THE UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT

                                           ______________

                                           No. 24-14020-H
                                           ______________

  DEBORAH GREY,

                                                      Plaintiff - Appellant,

  versus

  VENGROFF WILLIAMS, INC.,
  SECOND LOOK, INC.,

                                               Defendants - Appellees.
                         __________________________________________


                            Appeal from the United States District Court
                                 for the Middle District of Florida
                         __________________________________________

  ORDER: Pursuant to the 11th Cir. R. 42-1(b), this appeal is DISMISSED for want of
  prosecution because the appellant Deborah Grey failed to pay the filing and docketing fees to
  the district court, or alternatively, file a motion to proceed in forma pauperis in district court and
  file a Transcript Order Form within the time fixed by the rules.

  Effective January 16, 2025.

                                           DAVID J. SMITH
                                Clerk of Court of the United States Court
                                   of Appeals for the Eleventh Circuit

                                                              FOR THE COURT - BY DIRECTION
